920 F.2d 933w
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.James McKNIGHT, Plaintiff-Appellant,v.Louis W. SULLIVAN, M.D., Secretary of Health and HumanServices, Defendant-Appellee.
    No. 90-5495.
    United States Court of Appeals, Sixth Circuit.
    Dec. 14, 1990.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    